                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA                             )
                                                    )
             v.                                     )        CASE NO. DNCW3:05CR277-12
                                                    )        (Financial Litigation Unit)
THOMAS E. DUNLAP,                                   )
                             Defendant,              )
and                                                  )
                                                     )
HILBISH MOTOR COMPANY,                               )
                    Garnishee.                       )


              DISMISSAL OF WRIT OF CONTINUING GARNISHMENT

      Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Continuing Garnishment filed in this case against Defendant

Thomas E. Dunlap as to Garnishee Hilbish Motor Company is DISMISSED.



                                      Signed: September 11, 2013




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